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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION



UNITED STATES OF AMERICA                       §
                                               §
                                               §
V.                                             §   Criminal No. 4:21-MJ-91
                                               §
JASON LEE HYLAND                               §


                                          ORDER


       On this      day of __________, 2021, the foregoing unobjected motion to Modify

bond condition allowing Jason Lee Hyland can associate and communicate with Katherine

Schwab was considered by this Court and it is hereby:



                             GRANTED .......... DENIED


       SIGNED this        day of __________, 2021.



                                            U. S. DISTRICT JUDGE
